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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiffs,                                8:13CR106

      vs.
                                                                ORDER
RUSSELL GLENN PIERCE,

                    Defendant.


      Before the court is the Findings and Recommendation and Order (“F&R”) of

United States Magistrate Judge Thomas D. Thalken, Filing No. 247. No objection has

been filed to the F&R. Pursuant to NECrimR 59.2 and 28 U.S.C. § 636(b)(1), the court

has conducted a de novo review of the record and adopts the F&R in its entirety.

      THEREFORE, IT IS HEREBY ORDERED that:

      1. The F&R, Filing No. 247, is adopted in its entirety; and

      2. The defendant’s motion to suppress, Filing No. 164, is denied.




      Dated this 12th day of November, 2014

                                               BY THE COURT:
                                               s/ Joseph F. Bataillon
                                               Senior United States District Judge
